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                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION


BAHIA AMAWI                                           Case No. 1:18-cv-01091-RP

                 Plaintiff,                           NOTICE OF CONDITIONAL
                                                      STIPULATION TO INJUNCTIVE
        vs.                                           RELIEF BETWEEN BAHIA AMAWI
                                                      AND PFLUGERVILLE INDEPENDENT
PFLUGERVILLE INDEPENDENT SCHOOL                       SCHOOL DISTRICT
DISTRICT; and

KEN PAXTON, in his official capacity as
Attorney General of Texas,

                 Defendants.


PLAINTIFF BAHIA AMAWI AND DEFENDANT PFLUGERVILLE INDEPENDENT
 SCHOOL DISTRICT’S CONDITIONAL STIPULATION REGARDING PENDING
              PRELIMINARY INJUNCTION PROCEEDINGS

        Plaintiff Bahia Amawi and Defendant Pflugerville Independent School District (the “School

District”) hereby enter into the following conditional stipulation regarding the pending preliminary

injunction proceedings, subject to Federal Rule of Evidence 408. This conditional stipulation is

entered by these two parties alone and does not pertain to Defendant Ken Paxton.

                                    Conditional Stipulation Terms

        WHEREAS, the Plaintiff has named the School District as a defendant in this case;

        WHEREAS, the Plaintiff and the School District agree that this legal dispute is attributable

to Tex. Gov. Code § 2270.001 et. seq, which compels the School District to include certain language

regarding boycotts of Israel in its agreements with contractors;

        WHEREAS, the School District—though committed to following all applicable laws,

including Tex. Gov. Code §2270.001 et. seq—takes no position at this time on the constitutionality of

the law which gave rise to this litigation;

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        THEREFORE, Plaintiff Bahia Amawi and the School District hereby agree to the following:

        STIPULATION: In the event that this Court, or any other with controlling authority over

this dispute, invalidates or enjoins enforcement of Tex. Gov. Code § 2270.001 et. seq, the School

District will offer Plaintiff Bahia Amawi another contract to provide speech pathology services

containing all the same terms as the contract the School District previously offered to the Plaintiff but

for the provision required by Tex. Gov. Code §2270.001 et. seq. In the event that this Court,

subsequent to invalidating or enjoining enforcement of Tex. Gov. Code § 2270.001 et. seq, does not

grant a permanent injunction or is reversed by an appellate court, Plaintiff Bahia and the School

District agree that this Conditional Stipulation does not preclude in any manner the School District

from complying with Tex. Gov. Code § 2270.001 et. seq. Without the parties taking a position on the

availability of attorneys’ fees in this matter, Plaintiff will not pursue attorneys’ fees against the District

for any events or activities prior to the District making a formal appearance in this suit.

                                                  Respectfully submitted,

Dated: January 8, 2019                            JOHN T. FLOYD LAW FIRM

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                                  CERTIFICATE OF SERVICE

I affirm that, immediately after filing, this document will be served on the following counsel via the
Court’s ECF system.

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                                            /s/ Lena F. Masri
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